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     ""'AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                Sheet 1




                                               UNITED STATES DISTRICT COURT                                                        \ 2 OCT t t Pi' 12= 5 ,
                                                                                                                                                                      4' " ~
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                                                             ;~~lr'J~·"~1~·'


                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE t;;;;fr'/K'
                                         v.                                        (For Offenses Committed On or After ~ember 1, 1987)

                  STEPHEN KENNETH CHRYSLER (4)                                     Case Number: lOCR2242 JM
                                                                                    Michael Stephen Berg
                                                                                    Defendant's Attorney
     REGISTRATION NO. 20111298

    D
    THE DEFENDANT:
     D  pleaded guilty to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     181 was found guilty on count(s) THIRTY, THIRTY-FIVE, THIRTY-SEVEN, FORTY, FORTY-EIGHT OF INDICTMENT.
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                               Count
     Title & Section                          Nature of Offense                                                                             Number(s)
18: 1343; 18:982&21 :853(p)            WIRE FRAUD; CRIMINAL FORFEITURE                                                                      30,35,37,40,48




        The defendant is sentenced as provided in pages 2 through _ _4-=--_ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 19114.
 D The defendant has been found not guilty on count(s)
 D Count(s)                                                 -------------------------------------
                                                                                     is DareD dismissed on the motion of the United States.
 181 Assessment: COUNT 30, $100.00; COUNT 35, $100.00; COUNT 37, $100.00; COUNT 40, $100.00; COUNT 48, $100.00.
 ~ Restitution amount to be detennined following Restitution Hearing set for 1211 0/2012 10:00 AM before Judge Jeffrey T. Miller.



  ~ Fine waived                                     181 Forfeiture pursuant to order filed
                                                                                                 --------- 10111/2012          , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               October 9,2012
                                                                              Date ofimposition of Sentence



                                                                                             F        T.MILLER
                                                                                   TED STATES DISTRICT JUDGE

                                                                                                                                                 lOCR22421M
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AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                            Judgment - Page _ _2 _ of         4
 DEFENDANT: STEPHEN KENNETH CHRYSLER (4)
 CASE NUMBER: lOCR2242 JM
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         THIRTY-SEVEN (37) MONTHS AS TO EACH COUNT 30, 35, 37,40,48 TO RUN CONCURRENTLY.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
        Oat                               Oa.m.      o p.m. on _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before -------------------------------------------------------------------
       o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
 J have executed this judgment as follows:
                                      _____________________________ to
         Defendant delivered on


 at ________________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                   By ________~~~~~~~-~----------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                     lOCR2242JM
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AD 2458 (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 3 Supervised Release
                                                                                                                Judgment-Page    ---l.- of ____4:....__
DEFENDANT: STEPHEN KENNETH CHRYSLER (4)                                                                II
CASE NUMBER: lOCR2242 JM
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS AS TO EACH COUNT 30, 35, 37,40,48, TO RUN CONCURRENTLY.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with tfie requirements of the Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a quali1)ring offense. (Check if applicable.)
D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11 )    the defendant shall notifY the probation officer within seventy-two ho urs ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation pfficer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

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        AO 245B (CASD) (Rev. 12111 Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                           Judgment-Page   -i..- of _ _ _
                                                                                                                                        4 __
       DEFENDANT: STEPHEN KENNETH CHRYSLER (4)                                                        a
       CASE NUMBER: lOCR2242 JM




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with         hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.            a
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Participate in anger management assessment and any treatment deemed suitable, under the direction of the probation officer. May be
    required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's
    ability to pay.


D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation of
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 NotifY the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
    obtained under any other name, entity, including a trust, partnership or corporation, until restitution is paid in full.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within       days.
D Complete              hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Notity the Collections Unit, United States Attorney's Office, before transferring any interest in any property owned directly or indirectly by
    her, including any interest held or owned under any other name or entity, including trusts, partnerships, or corporations, until restitution is
    paid in full.

181 Not engage in the employment or profession of real estate, real estate financing, or any business loan programs, or any profession involving
    fiduciary responsibilities without the express approval ofthe probation officer.




                                                                                                                                      10CR2242JM
